Page 1 of 1

JS 44 (Rev, 03/24)

Case 1:25-cv-01192-JRWy Peseta SE RPO 06/30/25

The JS 44 civil cover sheet and the information contained hercin neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Kimet Terolli, Individually and as Administrator of the Penn State Health; The Milton S. Hershey Medical Center,
Estate of Paola Terolli, deceased Brian D. Dodson, M.D., Janet Cady, CRNP

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

Gregory Spizer, Esquire
Daniel P. Rosner, Esquire

VSCP Law
Il. BASIS OF JURISDICTION (Place an “X" in One Box Only) Il]. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(J! U.S. Government []3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State {] I [x] 1 Incorporated or Principal Place CL] 4 [x] 4
of Business In This State
C 2 U.S. Government [x]4 Diversity Citizen of Another State [x] 2 oO 2 Incorporated and Principal Place CT 5 CL 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a []3 [] 3. Foreign Nation []« [Je
Foreign Country
IV. NATURE OF SUIT piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY —[_]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane ([] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | |690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CT 367 Health Care/ INTELLECTUAL 400 State Reapportionment
[_]150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS || 410 Antitrust
& Enforcement of Judgment Slander Personal Injury [| 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers” Product Liability 830 Patent 450 Commerce
L| 152 Recovery of Defaulted Liability [_] 368 Asbestos Personal | $35 Patent - Abbreviated 460 Deportation
Student Loans a 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
(_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets |__| 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
LC] 160 Stockholders’ Suits 4 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability QO 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (139581) 490 Cable/Sat TV
196 Franchise Injury CT 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/

A

| x] 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange

Medical Malpractice Leave Act 864 SSID Title XVI |] 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation | 865 RSI (405(g)) | | 891 Agricultural Acts

|_| 210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: |_|791 Employee Retirement | | 893 Environmental Matters
|] 220 Foreclosure |_| 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information

230 Rent Lease & Ejectment 442 Employment | 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act

240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
oe Tort Product Liability Accommodations |_| 530 General C] 871 IRS—Third Party | 899 Administrative Procedure
[_]290 All Other Real Property 445 Amer. w/Disabilities -[_] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of

Employment Other: 462 Naturalization Application Agency Decision
446 Amer, w/Disabilities -] | 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X" in One Box Only)

1 Original 2 Removed from 3. Remanded from O14 Reinstated or Cc] 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
28 U.S.C. 1332(a)(1)

Brief description of cause:
Wrongful Death and Survival Action

VI. CAUSE OF ACTION

VII. REQUESTEDIN = (J CHECK IF THISIS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: L]yes [No
VIII. RELATED CASE(S)
‘See instructions):
IF ANY (See instructions) JUDGE DOCKET NUMBER

DATE
June 30, 2025
FOR OFFICE USE ONLY

SIGNATURE OF ATTORNEY OF RECORD
/s/ Gregory S. Spizer, Esq.

